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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K
------------------------------------------------------------- X
M ar c us Gr e e n,

                                              Petiti o n er ,                           O R DE R

                          - a g ai nst-                                                  1 5 Ci v. 2 8 2 5 (V B )(A E K )
                      1
L etiti a J a m es,

                                     R es p o n d e nt.
------------------------------------------------------------- X

T H E H O N O R A B L E A N D R E W E. K R A U S E, U. S. M. J.
           Pr o S e P etiti o n er M ar c us Gr e e n fil e d a p etiti o n f or a writ of h a b e as c or p us c h all e n gi n g

his c o n vi cti o n i n N e w Y or k St at e c o urt f or m ulti pl e off e ns es. At t h e ti m e h e i niti at e d t his c as e,

P etiti o n er w as i n c ar c er at e d at t h e El mir a C orr e cti o n al f a cilit y. S e e E C F. N o. 1. I n J u n e 2 0 1 7,

P etiti o n er s e nt a l ett er t o t h e C o urt t o r e p ort t h at h e w as t h e n h o us e d at t h e Gr e e n H a v e n

C orr e cti o n al F a cilit y, s e e E C F N o. 2 7, a n d i n J ul y 9, 2 0 1 8, P etiti o n er n otifi e d t h e C o urt t h at h e

h a d m o v e d t o t h e Cli nt o n C orr e cti o n al F a cilit y, s e e E C F N o. 3 0. As of t h e d at e of t his Or d er, t h e

d o c k et s h e et i n t his m att er lists t h e Cli nt o n C orr e cti o n al F a cilit y as P etiti o n er’s c urr e nt a d dr ess.

               R e c e nt c o m m u ni c ati o ns fr o m P etiti o n er a p p e ar t o h a v e b e e n s e nt fr o m ot h er N e w Y or k

St at e pris o n l o c ati o ns. S e e E C F N o. 3 2 ( A u g ust 2 0 2 0 l ett er wit h r et ur n a d dr ess of U pst at e

C orr e cti o n al F a cilit y); E C F N o. 3 3 ( S e pt e m b er 2 0 2 0 l ett er wit h r et ur n a d dr ess of S o ut h p ort

C orr e cti o n al F a cilit y). M or e o v er, t h e N e w Y or k St at e D e p art m e nt of C orr e cti o ns a n d

C o m m u nit y S u p er visi o n I n m at e L o o k u p w e bsit e ( htt p:// n ys d o c csl o o k u p. d o c cs. n y. g o v/) i n di c at es




           1
               L etiti a J a m es, w h o b e c a m e t h e N e w Y or k St at e Att or n e y G e n er al o n J a n u ar y 1, 2 0 1 9, is
a ut o m ati c all y s u bstit ut e d h er ei n as R es p o n d e nt f or ori gi n all y n a m e d R es p o n d e nt Eri c T.
S c h n ei d er m a n p urs u a nt t o R ul e 2 5( d) of t h e F e d er al R ul es of Ci vil Pr o c e d ur e.



                                                                       1
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t h at as of t h e d at e of t his Or d er, P etiti o n er is c urr e ntl y h o us e d at t h e A u b ur n C orr e cti o n al

F a cilit y . S e e E x. 1 ( att a c h e d h er et o).

           All p arti es ar e r e q uir e d t o k e e p t h e C o urt a p pris e d of t h eir c urr e nt a d dr ess es; t his is

p arti c ul arl y i m p ort a nt f or pr o s e liti g a nts w h o ar e r e c ei vi n g n otifi c ati o n of c o urt fili n gs b y m ail.

I n d e e d, P etiti o n er a p p e ars t o b e a w ar e of t his, gi v e n t h at h e h as s u b mitte d t w o a d dr ess u p d at es t o

t h e C o urt d uri n g t h e p e n d e n c y of t his c as e. It a p p e ars, h o w e v er, t h at t h e c urr e nt a d dr ess list e d o n

t h e d o c k et s h e et m a y b e i n c orr e ct.

           P arti c ul arl y gi v e n t h e a g e of t his c as e, t o att e m pt t o e ns ur e t h at P etiti o n er ti m el y r e c ei v es

a c o p y of t his C o urt’s R e p ort a n d R e c o m m e n d ati o n, E C F N o. 3 6, a n d ot h er r e c e nt it e ms

d o c k et e d i n t his m att er, c h a m b ers st aff will m ail a c o p y of t h e R e p ort a n d R e c o m m e n d ati o n,

c o pi es of c ert ai n c as es cit e d i n t h e R e p ort a n d R e c o m m e n d ati o n, s e e E C F N o. 3 6 at 1 4 n. 1 4, a

c o p y of t h e or d er e nt er e d o n J a n u ar y 7, 2 0 2 1, E C F N o. 3 5, a n d a c o p y of t his or d er t o

P etiti o n er’s att e nti o n at b ot h t h e Cli nt o n C orr e cti o n al F a cilit y a d dr ess list e d o n t h e d o c k et a n d at

t h e A u b ur n C orr e cti o n al F a cilit y ( P. O. B o x 6 1 8, A u b ur n, N Y 1 3 0 2 4) b as e d o n t h e r es ults of t h e

s e ar c h of t h e I n m at e L o o k u p w e bsit e.

           P etiti o n er is dir e ct e d t o pr o m ptl y s u b mit a l ett er t o t h e C o urt c o nfir mi n g his c orr e ct

a d dr ess s o t h at t h e d o c k et s h e et c a n b e u p d at e d, if n e c ess ar y. If P etiti o n er’s a d dr ess o n t h e

d o c k et is n ot c orr e ct e d, t h er e is a s u bst a nti al ris k t h at P etiti o n er will n ot r e c ei v e f ut ur e

c o m m u ni c ati o ns f r o m t h e C o urt i n t his m att er.

D at e d: J a n u ar y 1 2, 2 02 1
          W hit e Pl ai ns, N e w Y or k
                                                                             S O O R D E R E D.


                                                                             ________________________________
                                                                             A N D R E W E. K R A U S E
                                                                             U nit e d St at es M a gistr at e J u d g e



                                                                      2
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D e p a rt m e nt of C o r r e cti o n s a n d C o m m u nit y S u p e r vi si o n

Vi sit o r s              I n m at e L o o k u p




I n m at e L o o k u p




I n m at e I nf or m ati o n
I n m at e I nf or m ati o n D at a D efi niti o n s ar e pr o vi d e d f or m o st of t h e el e m e nt s li st e d b el o w.
W h e n a d et ail e d d efi niti o n i s a v ail a bl e f or a s p e cifi c el e m e nt, y o u m a y cli c k o n t h e
el e m e nt' s l a b el t o vi e w it.


                                  I d e ntif yi n g a n d L o c ati o n I nf or m ati o n
                                                   A s of 0 1/ 1 2/ 2 1
        DI N ( D e p art m e nt I d e ntifi c ati o n N u m b er)                        10 A3156

        I n m at e N a m e                                                               G R E E N, M A R C U S

        Sex                                                                              M AL E

        D at e of Birt h                                                                 1 2/ 1 4/ 1 9 7 7

        R a c e / Et h ni cit y                                                          BL A C K

        C u st o d y St at u s                                                           I N C UST O DY

        H o u si n g / R el e a si n g F a cilit y                                       A UB U R N

        D at e R e c ei v e d ( Ori gi n al)                                             0 6/ 2 5/ 2 0 1 0

        D at e R e c ei v e d ( C urr e nt)                                              0 6/ 2 5/ 2 0 1 0

        A d mi s si o n T y p e                                                          N E W C O M MI T M E N T

        C o u nt y of C o m mit m e nt                                                   WEST C HESTE R
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      L at e st R el e a s e D at e / T y p e ( R el e a s e d I n m at e s O nl y)


                                           Cri m e s of C o n vi cti o n
                                      If all 4 cri m e fi el d s c o nt ai n
                                    d at a, t h er e m a y b e a d diti o n al
                                   cri m e s n ot s h o w n h er e. I n t hi s
                                    c a s e, t h e cri m e s s h o w n h er e
                                       ar e t h o s e wit h t h e l o n g e st
                                                   s e nt e n c e s.
                                                A s of 0 1/ 1 2/ 2 1
                                   Cri m e                                            Cl a s s

                                   B U R GL A R Y 2 N D S U B 1                       C

                                   RAPE 1ST                                           B

                                   U N L A W I M P RI S O N M E N T 1 S T             E




                      S e nt e n c e T er m s a n d R el e a s e D at e s
 U n d er c ert ai n cir c u m st a n c e s, a n i n m at e m a y b e r el e a s e d pri or t o
  s er vi n g hi s or h er mi ni m u m t er m a n d b ef or e t h e e arli e st r el e a s e
                             d at e s h o w n f or t h e i n m at e.
                                       A s of 0 1/ 1 2/ 2 1
A g gr e g at e Mi ni m u m S e nt e n c e                                 0 0 1 7 Y e ar s, 0 1 M o nt h s, 1 8 D a y s

A g gr e g at e M a xi m u m S e nt e n c e                                0 0 2 0 Y e ar s, 0 0 M o nt h s, 0 0 D a y s

E arli e st R el e a s e D at e                                            0 4/ 1 6/ 2 0 2 6

E arli e st R el e a s e T y p e                                           P A R O L E E LI GI BI LI T Y D A T E

P ar ol e H e ari n g D at e                                               1 2/ 2 0 2 5

P ar ol e H e ari n g T y p e                                              I NI TI A L R E L E A S E
                                                                           APPEA RA N CE

P ar ol e Eli gi bilit y D at e                                            0 4/ 1 6/ 2 0 2 6

C o n diti o n al R el e a s e D at e                                      0 4/ 1 6/ 2 0 2 6

M a xi m u m E x pir ati o n D at e                                        0 2/ 2 8/ 2 0 2 9

M a xi m u m E x pir ati o n D at e f or P ar ol e S u p er vi si o n
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         P o st R el e a s e S u p er vi si o n M a xi m u m E x pir ati o n
         D at e

         P ar ol e B o ar d Di s c h ar g e D at e




       D e p art m e nt of C orr e cti o n s a n d C o m m u nit y S u p er vi si o n


A c c e s si bilit y     C o nt a ct U s      Di s cl ai m er     Language Access   Pri v a c y P oli c y
